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    'Il>.AO 245B (CASD) (Rev 12111) Judgment in a Criminal Case with Probation
               Sheet I
                                                                                                                                    J

                                              UNITED STATES DISTRICT COURT 2ul3JAN 23 An II: 35
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                        8~::
                                                                                                                        ~G~7f;~~~:)"~ :.. .._

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or Njr{jovember 1, 19~~!.~_ntPt!~'
                                                                                                                            ~
                     GABRIELA VILLANUEVA (6)                                       Case Number: 12CR1852-CAB
                                                                                    KEITH H. RUTMAN
                                                                                   Defendant's Attorney
    REGISTRA nON NO. 32894298

    o
    THE DEFENDANT:
    Igj pleaded guilty to count(s) ONE (I) OF THE 27-COUNT INDICTMENT
    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea of not guilty.
         Accordingly, the defendant is adjudged guilty of such count(s). which involve the following offense(s):
                                                                                                                                                 Count
    Title & Section                          Nature of Offense                                                                                  Number(s)
18 USC 371                            CONSPIRACY                                                                                                     1




       The defendant is sentenced as provided in pages 2 through _ _4.:........_of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 Igj Count(s) 15 OF THE INDICTMENT                           ------------------------------------
                                                                       Igj 0        is         are        dismissed on the motion of the United States.
 Igj Assessment: $100.00


 Igj See fine page                                  o Forfeiture pursuant to order filed --------- , included herein.
      IT IS ORDERED that the defendant shall notilY the United States Attorney for this district within 30 days ofany change of name, residence.
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
defendant shall notify the court and United States Attorney ofany material change in the defendant's economic circumstances.




                                                                                 HON. CATHY ANN BENCIVENGO
                                                                                 UNITED STATES DISTRICT JUDGE

                                                                                                                                                  12CR1852-CAB
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AO 24513 (CASD) (Rev. 12111) Judgment in a Criminal Case with Probation
            Sheet 3 -- Probation
                                                                                                              Judgment-Page       2     of        4
DEFENDANT: GABRIELA VILLANUEVA (6)                                                                     II
CASE NUMBER: 12CR1852-CAB
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS.

The defendant shall not commit another federal. state. or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than      drug tests per month during
the tcrm of supervision. unless otherwise ordered by court.

D The  above drug testing condition is suspendcd. based on the court's determination that the defendant poses a low risk of
   future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with die requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 1690 I, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation. it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shan work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shaH not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 I I)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer. the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history orcharacteristics and shall permit the probation officer to make such notifications and to confirm
          the defendant's compliance with such notification requirement.



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       AO 245B (CASD) (Rev 12/11 Judgment in a Criminal Case with Probation
                  Sheet 5  Special Conditions
                                                                                                       Judgment-Page _ _
                                                                                                                       3_       of _---:4_ __
       DEFENDANT: GABRIELA VILLANUEVA (6)
       CASE NUMBER: 12CR1852-CAB




                                             SPECIAL CONDITIONS OF SUPERVISION
D Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter or reside in the Republic of Mexico without written pennission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without pennission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be detennined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination ofboth.
D Resolve all outstanding warrants within          days.
D Complete           hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of infonnation between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be detennined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                   12CR1852-CAB
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Cnminal Monetary Penalties
                                                                                               Judgment - Page _ _4__ of      4
DEFENDANT: GABRIELA VILLANUEVA (6)                                                       II
CASE NUMBER: 12CR1852-CAB

                                                                 FINE

      The defendant shall pay a fine in the amount of _ _ _ _$2_0_0_.0_0_ _ _ _ unto the United States of America.




          This sum shall be paid          K    immediately.
                                               as follows:




          The Court has determined that the defendant does not     have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                              12CR1852-CAB
